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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA                     Criminal no. 21-173 (ADC)
   Plaintiff,
                v.

 BRIAN BRIONI CASTELLANO (3)
   Defendant.

                          Motion to continue Change of Plea Hearing
To the Honorable Court:

       Comes now the defendant, Mr. Brioni Castellanos, and respectfully states and prays as

follows:

   1. Mr. Brioni Castellano Change of Plea Hearing is scheduled for this Thursday, December

       9, 2021. (See Docket Entry #100)

   2. Although efforts have been made to secure Mr. Brioni Castellano's signatures on the

       corresponding documentation necessary for the hearing in time, transportation issues and

       scheduling conflicts have impeded that Mr. Brioni Castellano and the undersign meet in

       person.

   3. In an effort to avoid taking up the Court's time on the day of the hearing, it is requested

       that the Change of Plea Hearing be continued.

   4. The undersigned is available on:

            a. Wednesday, December 15, 2021, 1:00 pm – 2:30 pm;

            b. Thursday December 16, 2021, 8:00 am – 12:00 pm;

            c. Friday December 17, 2021, 9:00 am – 5:00 pm.

       WHEREFORE, we ask the Court to take note of the information herein, and grant the

requested continuance to one of the dates proposed by the undersigned.

       RESPECTFULLY SUBMITTED.
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       In San Juan, Puerto Rico, this 7th day of December 2021.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


                                  s/ Diego H. Alcalá Laboy
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